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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

  MICROCHIP TECHNOLOGY                              )
  INCORPORATED,                                     )
                                                    )
                                                    )
                Plaintiff,                          )
                                                    ) C.A. No. 17-1194-JDW
         v.                                         )
                                                    )
  APTIV SERVICES US, LLC,                           )
                                                    )
                Defendant.                          )


                    PROPOSED FINAL PRETRIAL ORDER – PATENT

        This matter comes before the Court at a final pretrial conference held pursuant to Rule

 16 of the Federal Rules of Civil Procedure. The parties are Plaintiff Microchip Technology

 Incorporated (“Microchip”) and Defendant Aptiv Services US, LLC (“Aptiv”). Pursuant to

 Local Rule 16.3, Plaintiff and Defendants hereby submit for the Court’s approval this

 proposed Joint Final Pretrial Order governing the jury trial of Civil Action No. 17-1194. A

 Pretrial Conference in this matter is scheduled for April 4, 2022, and a jury trial is scheduled

 to begin on April 6, 2022.

 Attorneys For Plaintiff Microchip Technology Incorporated:

        John W. Shaw (No. 3362)
        jshaw@shawkeller.com
        Jeffrey T. Castellano (No. 4837)
        jcastellano@shawkeller.com
        Nathan R. Hoeschen (No. 6232)
        nhoeschen@shawkeller.com
        I.M. Pei Building
        1105 North Market Street, 12th Floor
        Wilmington, DE 19801
        (302) 298-0700


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       Of Counsel
       Bruce W. Slayden II
       bslayden@sgbfirm.com
       Brian C. Banner
       bbanner@sgbfirm.com
       Darryl J. Adams
       dadams@sgbfirm.com
       Joseph D. Gray
       jgray@sgbfirm.com
       Truman H. Fenton
       tfenton@sgbfirm.com
       R. William Beard, Jr.
       wbeard@sgbfirm.com
       SLAYDEN GRUBERT BEARD PLLC
       401 Congress Ave., Suite 1650
       Austin, TX 78701
       (512) 402-3550

 Attorneys For Defendant Aptiv Services US, LLC:

       Philip A. Rovner (No. 3215)
       provner@potteranderson.com
       Jonathan A. Choa (No. 5319)
       jchoa@potteranderson.com
       POTTER ANDERSON & CORROON LLP Hercules Plaza
       P.O. Box 951
       Wilmington, DE 19899
       (302) 984-6000

       Of Counsel
       Daralyn J. Durie
       ddurie@durietangri.com
       Timothy Saulsbury
       tsalsbury@durietangri.com
       Eric C. Wiener
       ewiener@durietangri.com
       Andrew T. Jones
       ajones@durietangri.com
       Joyce C. Li
       jli@durietangri.com
       W. Henry Huttinger
       hhuttinger@durietangri.com
       DURIE TANGRI LLP
       217 Leidesdorff St.
       San Francisco, CA 94111
       (415) 362-6666

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 I.     NATURE OF THE CASE

        1.     This is a lawsuit between two companies. Plaintiff Microchip filed this lawsuit

 against Defendant Aptiv 1 asserting claims of patent infringement. Microchip is a leading

 supplier of integrated circuits (or chips) used in a variety of electronics, for example, the

 electronics found in many automotive systems. Aptiv incorporates integrated circuits into

 automotive systems to provide functionality such as infotainment and safety. Microchip

 alleges Aptiv infringes U.S. Patent Nos. 7,523,243 (“the ’243 Patent”) and 7,627,708 (“the

 ’708 Patent”) (collectively, the “Patents-in-Suit”). This lawsuit arises under the patent laws

 of the United States, Title 35, United States Code, § 100 et seq., and in particular under 35

 U.S.C. § 271(a)–(c). The lawsuit relates to an Aptiv product known as the “Dual Role Hub,”

 which is an electronic component that is incorporated into automobiles and uses USB

 connections to, among other things, allow the driver to use an iPhone to control the vehicle’s

 display.

        2.     Defendant Aptiv filed declaratory judgment counterclaims against Microchip

 alleging (1) Aptiv does not infringe the Patents-in-Suit and (2) the Patents-in-Suit are invalid.

 II.    JURISDICTION

        3.     Microchip seeks damages and injunctive relief in this action arising under the

 patent laws of the United States, Title 35, United States Code.

        4.     The jurisdiction of the Court is not disputed and is based on 28 U.S.C. §§ 1331

 and 1338.



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        Microchip’s lawsuit originally named a company called Delphi Automotive Systems as
 defendant. During the lawsuit, Delphi Automotive Systems changed its name and is now called
 Aptiv Services US, LLC.
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 III.        FACTS

        A.         Uncontested Facts

             5.       Any party, with prior notice to all other parties, may read any or all of the

 uncontested facts to the jury or Court, and will be charged for the time used to do so.

             The following facts are not contested by the parties:

             i. The Parties

             6.       Microchip Technology Incorporated is a Delaware corporation with its

 principal place of business located at 2355 West Chandler Blvd., Chandler, Arizona, 85224-

 6199.

             7.       Microchip Technology Incorporated owns all right, title, and interest in and to

 the patents asserted against Aptiv in this case.

             8.       Microchip was founded in 1989.

             9.       Aptiv Services US, LLC is a Delaware limited liability company with a

 principal place of business at 5725 Delphi Drive, Troy, Michigan, 48098.

             10.      Aptiv Services US, LLC was formerly known as Delphi Automotive Systems,

 LLC, or “Delphi.”

             11.      Microchip filed an initial lawsuit against Delphi on August 22, 2016 in the

 District of Arizona. In that lawsuit, Microchip alleged Delphi infringed the ’243 Patent, the

 ’708 Patent, and U.S. Patent No. 7,478,191 (the “’191 Patent”). Microchip’s complaint in

 that lawsuit was served on Aptiv on August 24, 2016. Microchip dismissed that lawsuit on

 August 27, 2017.

             12.      Microchip filed the present lawsuit against Delphi on August 24, 2017, alleging

 infringement of the same three patents.

             13.      Delphi changed its name to Aptiv Services US, LLC after the lawsuit was filed.

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           14.        Neither party contests that for purposes of Microchip’s claims against Aptiv in

 this lawsuit, the Court has personal jurisdiction over Aptiv and venue is proper.

           ii. Patents-in-Suit

                 a.      The ’243 Patent

           15.        United States Patent No. 7,523,243 is entitled “Multi-Host USB Device

 Controller.”

           16.        Microchip asserted claims 2, 6, 10, 16–17, and 22–25 of the ’243 Patent in this

 action.

           17.        The earliest application leading to the ’243 Patent, United States Provisional

 Patent Application No. 60/792,178, was filed on April 14, 2006.

           18.        On April 21, 2009, the United States Patent and Trademark Office issued the

 ’243 Patent.

           19.        The ’243 Patent was originally assigned to Standard Microsystems Corporation

 (“SMSC”), which assigned all rights, title and interest to the ’243 Patent to Standard

 Microsystems LLC in August 2016, who in turn assigned all rights, title, and interest to the

 ’243 Patent to Microchip in August 2016.

           20.        Neither SMSC nor Microchip has licensed the ’243 Patent to any other

 company.

           21.        Mark Bohm and Atish Ghosh are the named inventors of the ’243 Patent.

           22.        Aptiv does not have a license to the ’243 Patent.

           23.        Aptiv has had knowledge of the existence of the ’243 Patent since at least

 January 12, 2015.

                 b.      The ’708 Patent

           24.        United States Patent No. 7,627,708 is entitled “Multi-Host USB Device.”

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        25.    Microchip asserted claim 6 of the ’708 Patent in this action.

        26.    The earliest application leading to the ’708 Patent, United States Provisional

 Patent Application No. 60/792,178, was filed on April 14, 2006.

        27.    The application leading to the ’708 Patent is a continuation of the application

 that issued as the ’243 Patent.

        28.    On December 1, 2009, the United States Patent and Trademark Office issued

 the ’708 Patent.

        29.    The ’708 Patent was originally assigned to SMSC, which assigned all rights,

 title and interest to the ’708 Patent to Standard Microsystems LLC in August 2016, who in

 turn assigned all rights, title, and interest to the ’708 Patent to Microchip in August 2016.

        30.    Neither SMSC nor Microchip has licensed the ’708 Patent to any other

 company.

        31.    Mark Bohm and Atish Ghosh are the named inventors of the ’708 Patent.

        32.    Aptiv does not have a license to the ’708 Patent.

        33.    Aptiv has had knowledge of the existence of the ’708 Patent since at least

 January 12, 2015.

        iii. Aptiv’s Dual Role Hub and Boston Chip

        34.    Aptiv sells and offers to sell a Dual Role Hub product.

        35.    The Dual Role Hub was original, was designed at Unwired Technology LLC

 (“Unwired”), an Aptiv affiliate purchased Unwired, an Aptiv press release dated September

 30, 2014 discussed the purchase of Unwired, and the press release included the quoted

 statement “Unwired’s connectivity products provide two-way data connections between

 smartphones and tablets and in-car infotainment systems, allowing consumers to safely access

 content in the vehicle.”
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        36.    According to an Aptiv website, the Dual Role Hub allows the car radio and a

 user’s phone “to be recognized as ‘host’ devices simultaneously.”

        37.    Aptiv markets and promotes the Dual Role Hub in the video available at

 https://vimeo.com/162512071 titled “New USB Hub Helps Automakers’ Make Apple

 CarPlay™ Work Simultaneously with Other Devices” (hereinafter, the “Aptiv Promotional

 Video”).

        38.    The Aptiv Promotional Video describes the Aptiv Dual Role Hub as follows:

 “CarPlay operates by simply connecting the Apple phone to a USB connector in the car. When

 the Apple phone is connected, the infotainment system allows the Apple phone to become the

 host of the USB communication and to stream content right onto the screen. But when an

 automaker integrates Apple CarPlay into their infotainment system, they must allow the Apple

 phone to be the host of the USB communication. This is typically done by using an On-The-

 Go USB port on the head unit, which would change from a host to a device to support the

 CarPlay session. Delphi has solved these challenges by providing a USB hub that offers a

 unique way to bridge two hosts together without these drawbacks. Now users can have their

 personal content replicated in the vehicle while also allowing other passengers to use content

 at the same time from a different device. This solution, called Dual Role Hub, gives

 automakers a unique way to implement CarPlay and provide greater functionality with

 optimized packaging. Delphi’s USB hub with host-to-host bridge is integrated into USB

 media modules, like the one in this vehicle. In this highly compact module, Delphi can

 perform the standard USB hub function while accommodating Apple CarPlay. There are three

 key features of the Delphi USB hub with host-to-host bridge. First, only one USB port is

 required to access the hub from the head unit, which remains the host port. Second, the Delphi



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 USB hub with the host-to-host bridge allows either USB port on the module to support

 CarPlay. Third, the USB port in the host-to-host system not used for CarPlay is still active

 and can be used for accessing music on a USB drive, accessing map data for the navigation

 system, or accessing another phone or iPhone.”

        39.    On or around January 12, 2015, Microchip sent a letter to Aptiv, providing

 notice of the ’243 Patent and the ’708 Patent. In the letter, Microchip notified Aptiv that “any

 multi-host USB device control-based solution that might be implemented within the

 automotive infotainment system environment” would be covered by the ’243 and ’708

 Patents, including Aptiv’s “USB device controllers designed for multiple-host connectivity”

 developed by Unwired Technology.

        40.    On January 30, 2015, Craig A. Baldwin, North American Patent Counsel for

 Aptiv, responded to Microchip’s January 12, 2015 letter and said that Aptiv had reviewed the

 ’243 Patent and the ’708 Patent and had no intention of releasing a product that would infringe

 those patents or any other Microchip patent.

        41.    Aptiv sells the Dual Role Hub to automotive and other entities with the

 knowledge and intent that the Hub will be incorporated in automotive infotainment systems

 to be later incorporated and sold as part of an automobile and/or other final products.

        42.    Aptiv has tested and used the Dual Role Hub in the United States.

        43.    Aptiv offers for sale and sells the Dual Role Hub in the United States.

        iv. Microchip’s Hub Chips

        44.    Microchip began selling Sandia chips in the second quarter of 2017.




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            v. Prior Art

            45.      The following patents, patent applications, and printed publications are prior

 art to the ’243 Patent and the ’708 Patent:

                     a.     U.S. Patent No. 6,549,966 (“Dickens”)

                     b.     Japanese    Unexamined       patent   Application   No.    P2003-256351

                            (“Furukawa”)

                     c.     Japanese Patent Application JP2000-194649A (“Ito”)

       B.         Contested Facts

            46.      Microchip’s statement of the facts in issue that it contends remain to be

 litigated, including brief statements of what it intends to prove in support of its claims and

 defenses is attached as Exhibit 1.

            47.      Aptiv’s statement of the facts in issue that it contends remain to be litigated,

 including brief statements of what it intends to prove in support of its claims and defenses is

 attached as Exhibit 2.

            48.      If this Court determines that any issue identified in the statements of facts in

 issue is more properly considered an issue of law, it should be so considered.

 IV.        ISSUES OF LAW

            49.      Microchip’s statement of the legal issues that remain to be litigated in this case

 and its citation of authorities relied upon is attached at Exhibit 3.

            50.      Aptiv’s statement of the legal issues that remain to be litigated in this case and

 its citation of authorities relied upon is attached at Exhibit 4.

            51.      If this Court determines that any issue identified in the statements of the issues

 of law is more properly considered an issue of fact, it should be so considered.



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 V.     WITNESSES

        52.    Any witness not listed will be precluded from testifying, absent good cause

 shown. Such good cause shall include, but is not limited to, testimony required to authenticate

 any documents subject to an authenticity objection. Subject to the notice requirements

 addressed herein, the listing of a witness on a party’s witness list does not require that party

 to call that witness to testify unless listed as a “will call” witness, and does not necessarily

 mean that the listing party has the power to compel the live testimony of that witness. In the

 absence of an alternative agreement between the parties, fact witnesses will be sequestered

 pursuant to Rule 615 of the Federal Rules of Evidence provided, however, the parties will not

 be required to exclude an officer or employee designated as the party’s representative. Any

 such agreement is not intended to abrogate or alter D. Del. LR 43.1.

        53.    By 6:00 pm ET two calendar days before a witness will be called to testify live,

 the name of the witness will be identified by email to opposing counsel, and, if multiple

 witnesses are thereby identified, the expected order of presentation.

        54.    Also, unless the parties reach an alternative agreement, the order of the

 presentation of evidence will follow the burden of proof, i.e.:

        Phase I:       Plaintiff case-in-chief on infringement and damages

        Phase II:      Defendant response on infringement and damages, and case-in-chief on

                       invalidity

        Phase III:     Plaintiff rebuttal on infringement and damages (limited solely to

                       rebutting evidence presented by Defendant in its response on those

                       issues), and response on invalidity

        Phase IV:      Defendant rebuttal on invalidity (limited solely to rebutting evidence

                       presented by Plaintiff in its response on invalidity)
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    A. List of Witnesses the Plaintiff Expects to Call

        55.    Microchip identifies the following witnesses whom it will or may call live or

 by prior testimony at trial, depending on the witness’s availability. Microchip reserves the

 right to call additional witnesses necessitated by the Court’s pretrial or trial rulings or in

 response to Aptiv’s trial witnesses.

        i. Expert witnesses

        56.    Below are the expert witnesses Microchip will call as live witnesses at trial,

 along with a disclosure of the precise subject matter on which it will ask the Court to recognize

 each witness’s expertise.

        57.    Mr. Ivan Zatkovich: Mr. Zatkovich is a technical expert with expertise in

 computer science and electrical engineering applications including embedded systems,

 network device interfaces, peripheral interface drivers, wired and wireless protocols including

 Wi-Fi, Bluetooth, and USB. Mr. Zatkovich will testify consistent with his expert reports,

 which may include testimony regarding the disclosure of the patents-in-suit, issues of

 infringement of the ’243 Patent and the ’708 Patent, non-infringing alternatives, and

 Microchip’s practice of the Patents-in-Suit. This testimony may also include the state of the

 art, persons of ordinary skill in the art, and their knowledge at the time of the invention. Mr.

 Zatkovich may also rebut any opinions offered by Mr. Garney on matters within his areas of

 expertise, including the benefits and importance of the patents, usage, etc.

        58.    Dr. John Levy: Dr. Levy is a technical expert with expertise in computer

 systems, software, and storage. Dr. Levy will testify consistent with his expert reports, which

 may include testimony regarding the disclosure of the patents-in-suit and issues of validity of

 the ’243 Patent and the ’708 Patent. This testimony may also include the state of the art,

 persons of ordinary skill in the art, and their knowledge at the time of the inventions. Dr.

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 Levy may also rebut opinions offered by Mr. Garney on matters within his areas of expertise,

 including the benefits and importance of the patents, usage, etc.

        59.        Dr. Stephen Becker is an economics and financial expert with expertise in

 evaluating damages with respect to intellectual property disputes. Dr. Becker will testify

 consistent with his expert report, including any supplements or corrections thereto, which will

 include testimony, facts, factors, and matters regarding damages for Microchip’s claims,

 damages measurements, applicable damage frameworks, lost profits and reasonable royalty

 analyses. Dr. Becker may also rebut any opinions offered by Mr. Chase on matters within his

 areas of expertise.

        ii. Non-expert witnesses

              a.      Fact witnesses Microchip will call at trial

        60.        Mitch Obolsky

        61.        Mark Bohm

              b.      Fact witnesses Microchip may call at trial

        62.        Atish Ghosh

        63.        Dave Sroka

        64.        Robert Voto

        65.        Craig Petku

        66.        Shyambaby Yeda

        67.        Michael Dreon




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    B.         List of Witnesses Defendant Expects to Call

         i. Expert witnesses

         68.        Below are the expert witnesses Aptiv will call as live witnesses at trial, along

 with a disclosure of the precise subject matter on which it will ask the Court to recognize each

 witness’s expertise.

         69.        Mr. John Garney: Mr. Garney is a technical expert with expertise in computer

 science and electrical engineering applications including extensive experience in the field of

 hardware, firmware, and software related to USB. Mr. Garney will testify consistent with his

 expert reports, which may include testimony regarding issues of non-infringement and

 invalidity of the ’243 Patent and the ’708 Patent. This testimony may also include the state

 of the art, persons of ordinary skill in the art, and their knowledge at the time of the invention.

 Mr. Garney may also rebut any opinions offered by Mr. Zatkovitch and Dr. Levy, Microchip’s

 technical experts, on matters within his areas of expertise.

         70.        Mr. Michael Chase is a Certified Public Accountant and is a finance and

 economics expert with expertise in evaluating damages with respect to intellectual property

 matters, and with respect to matters relating to the automotive sector. Mr. Chase will testify

 consistent with his expert report and his deposition, which cite and refer to evidence regarding

 the amount of damages Microchip would be entitled to if it prevails at trial on infringement

 and validity of the patents-in-suit, including offering his opinions regarding lost profits and

 reasonable royalty damages. Mr. Chase may rebut Dr. Becker’s opinions and may offer his

 own calculation of damages in this case.

         ii. Non-expert witnesses

               a.      Fact witnesses Aptiv will call at trial

         71.        Robert Voto

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         72.        Michael Dreon

               b.      Fact witnesses Aptiv may call at trial

         73.        Mark Bohm

         74.        Atish Ghosh

         75.        Mitch Obolsky

         76.        Donald Perkins

         77.        Craig Petku

         78.        Rene Rozycki

         79.        Dave Sroka

         80.        Shyambaby Yeda

    C.         Testimony by Deposition

         81.        The deposition testimony that Microchip may offer into evidence, together with

 Aptiv’s objections and counter-designations, and Microchip’s objections to the counter-

 designations, and counter-counter designations, is identified in Exhibit 5. Per D.I. 309,

 Exhibit 5 will be submitted to the Court on March 28, 2022.

         82.        The deposition testimony that Aptiv may offer into evidence, together with

 Microchip’s objections and counter-designations, and Microchip’s objections to the counter-

 designations, and counter-counter designations, is identified in Exhibit 6. Per D.I. 309,

 Exhibit 6 will be submitted to the Court on March 28, 2022.

         83.        Exhibits 5 and 6 will contain the maximum universe of deposition designations,

 counter-designations, counter-counter designations and objections to admission of deposition

 testimony. None of the foregoing shall be supplemented without approval of all parties or

 leave of the Court, on good cause shown.



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        84.    For convenience and sake of brevity, the parties have listed counter-

 designations in response to specific affirmative designations by the opposing parties. To the

 extent an opposing party withdraws any affirmatively designated testimony or seeks to limit

 the manner of presentation of testimony through the designation process, a party may present

 its counter-designation testimony in response to other specified affirmative testimony by the

 opposing party or re-designate its counter-designated testimony affirmatively. Similarly, a

 party may designate testimony identified as affirmative testimony in this order as a

 designation, counter-designation or counter-counter designation. To the extent a party

 removes or narrows its affirmative designations before identifying the testimony it intends to

 play at trial, as described in the paragraphs below, the other party may include those removed

 designations to its counter-designations, subject to the first party’s objections and according

 to the process described below.

        85.    To the extent admissible, a party may introduce the deposition excerpt by video

 or by reading the transcript. If a party opts to introduce deposition testimony by video, any

 counter-designations of that same witness’s deposition testimony must also be submitted by

 video. When deposition designation excerpts are introduced, all admissible deposition

 counter-designation excerpts, whether offered by video or by transcript, will be introduced

 simultaneously in the sequence in which the testimony was originally given (i.e., in the

 sequence in which the testimony was originally given).

        86.    To the extent such designations are read or played in open court, each party will

 be charged for the time taken to read or play the designations, counter-designations, or

 counter-counter designations the party has identified for presentation as measured by the time

 it takes to read or play the testimony that party designated. A party will not be charged with



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 the time for playing or reading another party’s designations, counter-designations, or counter-

 counter designations.

        87.       The parties expect that the Court will resolve any outstanding objections to

 deposition designations at the April 4 Final Pretrial Conference. In the event those objections

 are so resolved by that date, the parties will follow the following protocol for providing

 advance notice of specific deposition designations to be introduced at trial:

              •   9:00 a.m. ET two (2) calendar days prior to the testimony being offered into the

                  record: the party planning to use the deposition (“Party 1”) provides affirmative

                  designations.

              •   6:00 p.m. ET the same day (i.e. two (2) calendar days prior to the testimony

                  being offered into the record): the opposing party (“Party 2”) provides counter-

                  designations, including identifying any counter-designations that Party 2 did

                  not include in either Exhibit 5 or 6 but which were designations of Party 1

                  included in its Exhibit 5 or 6 but did not include in the designations provided at

                  9:00 a.m.

              •   8:00 p.m. ET the same day (i.e. two (2) calendar days prior to the testimony

                  being offered into the record): Party 1 will provide any objections to Party 2

                  playing the newly-identified counter-designations at trial.

              •   9:00 p.m. ET the same day (i.e. two (2) calendar days prior to the testimony

                  being offered into the record): the parties will meet and confer regarding any

                  objections.




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              •   8:00 am ET the next day (i.e. one (1) calendar day prior to the testimony being

                  offered into the record):   the parties will present any outstanding dispute

                  regarding the counter-designations to the Court.

              •   5:00 p.m. ET the same day (i.e. one (1) calendar day prior to the testimony

                  being offered into the record):

                     o To the extent the deposition is to be played on video, Party 1 also

                         provides a video containing all of the designations that will be played.

                         This video may be provided on DVD delivered to the other party or on

                         an FTP site.

                     o All admissible deposition designations from both parties that witness

                         will be introduced in sequential order (i.e., in the sequence in which the

                         testimony was originally given), with any objections made on the record

                         excised. Video may omit any dead time or long pauses not necessary to

                         understand the answers.

                     o Party 1 will also provide a report showing how much time each party

                         will be charged for its designations.

              •   By 9:00 p.m. ET that same day (i.e. one (1) calendar day prior to the testimony

                  being offered into the record): The parties will meet and confer to resolve any

                  disputes or remaining issues regarding the deposition designation and

                  associated video.

        88.       All colloquy between counsel and objections will be eliminated when the

 deposition is read or viewed at trial.




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          89.      If an exhibit is referenced in a deposition designation, the exhibit is admitted

 into evidence if it is included on the offering party’s trial exhibit list and is not otherwise

 objected to, or is included on the joint trial exhibit list without any objections by the opposing

 party.

          90.      When the witness is called to testify by deposition at trial, the party calling the

 witness shall provide the Court with two copies of the transcript of the designations,

 counter­designations, and counter-counter designations that will be read or played.

          91.      The above procedures regarding deposition designations do not apply to

 portions of deposition transcripts and/or video used for impeachment or cross-examination of

 a witness. Any deposition testimony may be used at trial for the purpose of impeachment,

 regardless of whether a party specifically identified that testimony on its list of deposition

 designations, if the testimony is otherwise competent for such purpose.

    D.          Impeachment with Prior Inconsistent Testimony

          92.      The parties agree that any exhibit or prior testimony used only for purposes of

 impeachment need not be disclosed on the list of exhibits or deposition designations contained

 in this pretrial order.

          93.      Pursuant to Fed. R. Evid. 613, deposition and other testimony or statements not

 specifically identified on a party’s deposition designation list or exhibit list may be used at

 trial for the purpose of impeachment, if otherwise competent for such purpose. The parties

 agree that in connection with efforts to impeach a witness (whether an expert or fact witness)

 with prior testimony, objections based on lack of completeness and/or lack of inconsistency

 are not permitted.




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       E.         Objections to Expert Testimony

            94.      The parties request that the Court rule at trial on objections to expert testimony

 as beyond the scope of prior expert disclosures, taking time from the parties’ trial presentation

 to argue and decide such objections, with that time being charged to the party losing the

 argument on such objections. Experts will not be permitted to offer at trial expert opinions, or

 bases for those opinions, that were not previously disclosed in their Rule 26(a)(2) reports.

            95.      Only opinions fully disclosed pursuant to Federal Rule of Civil Procedure 26

 may be presented at trial. To the extent not otherwise ruled upon pre-trial, the Court should

 address such issues at trial and if necessary, through post-trial motions and submissions.

            96.      The parties request that the Court rule at trial on objections to expert testimony

 that is not proper rebuttal testimony, taking time from the parties’ trial presentation to argue

 and decide such objections, with that time being charged to the party losing the argument on

 such objections.

 VI.        EXHIBITS

       A.         Exhibits

            97.      The parties’ joint list of trial exhibits, along with any outstanding objections,

 will be submitted to the Court on March 28, 2022 as Exhibit 7 Per D.I. 309.

            98.      Except for demonstrative exhibits, and exhibits to be used solely for

 impeachment, and Rule 1006 exhibits, 2 Exhibit 7 will contain the maximum universe of

 exhibits to be used at trial, as well as all objections to the admission of such objections, neither


 2
   The Parties agree that Rule 1006 exhibits need not be included on a party’s pre-trial exhibit list
 and will be disclosed with sufficient and reasonable notice for review and/or objection, but at
 least one day in advance of its anticipated use (as provided herein), provided that any exhibits
 from which a particular Rule 1006 exhibit is derived have been disclosed on the parties’ exhibit
 lists (including any supplements thereto). The parties will include any such Rule 1006 exhibits
 on the final exhibit list provided to the Court after trial.
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 of which shall be supplemented without approval of all parties or leave of the Court, on good

 cause shown. Exhibits not listed will not be admitted unless good cause is shown.

        99.     No exhibit will be admitted unless offered into evidence through a witness, who

 must at least be shown the exhibit. At some point before the completion of the witness’

 testimony, any party that has used an exhibit with the witness and wishes that exhibit to be

 admitted into evidence must formally move the exhibit into evidence, by exhibit number.

 Exhibits may not be published, displayed, or otherwise shown to the jury until after they have

 been admitted into evidence. Once admitted, counsel may publish exhibits to the jury without

 requesting to do so.

        100.    A party will provide exhibits to be used in connection with direct examination

 by 7:00 p.m. the day before their intended use, and objections will be provided no later than

 9:00 p.m. the night before their intended use. If good faith efforts to resolve the objections

 fail, the party objecting to the exhibits shall bring its objections to the Court’s attention prior

 to the witness being called to the witness stand. Failure to comply with these procedures,

 absent an agreement by the parties and approval by the Court, will result in waiver of the

 use of an exhibit or waiver of objection to the exhibit.

        101.    The previous paragraph’s procedures regarding disclosure of exhibits do not

 apply to exhibits used for impeachment or cross examination of a witness.

        102.    The parties agree that any description of a document on an exhibit list is

 provided for convenience only and shall not be used as an admission or otherwise as evidence

 regarding the listed document or any other listed document.




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         103.   Exhibits not objected to will be received into evidence by the operation of

 the Final Pretrial Order without the need for additional foundation testimony, provided

 they are shown to a witness.

         104.   On or before the first day of trial, each party will deliver to the Courtroom

 Deputy a completed AO Form 187 exhibit list corresponding to their respective final

 exhibit lists. Plaintiff shall provide a completed AO Form 187 exhibit list for all joint

 exhibits.

    B.       Demonstrative Exhibits

         105.   The parties will exchange demonstratives to be used in opening statements

 (but not those used for closing statements or for cross examinations). The parties will

 exchange demonstratives to be used in opening statements by 8:00 p.m. two nights before

 opening statements. The parties will provide any objections to such demonstratives by

 12:00 p.m. (noon) on the day before opening statements.

         106.   A party will provide demonstrative exhibits to be used in connection with

 direct examination by 6:00 p.m. the night before their intended use, and objections will

 be provided no later than 8:00 p.m. the night before their intended use. If any of the

 demonstratives change after the deadline, the party intending to use the demonstrative

 will promptly notify the opposing party of the change(s).

         107.   The party seeking to use a demonstrative will provide a color representation

 of the demonstrative to the other side in PDF form. However, for video or animations, the

 party seeking to use the demonstrative will provide it to the other side on a DVD or via

 an FTP site. For irregularly sized physical exhibits, the party seeking to use the

 demonstrative will provide a color representation as a PDF of 8.5 x 11 copies of the

 exhibits.
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         108.   The above procedures regarding disclosure of demonstratives do not apply

 to demonstratives created during testimony or demonstratives to be used for cross-

 examination, neither of which need to be provided to the other side in advance of their use. In

 addition, blow-ups or highlights of exhibits or parts of exhibits or testimony are not required

 to be provided to the other side in advance of their use.

         109.   If good faith efforts to resolve objections to demonstrative exhibits fail, the

 objecting party shall bring its objections to the Court’ s attention prior to the opening

 statements or prior to the applicable witness being called to the witness stand. Failure to

 comply with these procedures, absent an agreement by the parties and approval by the Court,

 will result in waiver of the use of an exhibit or waiver of objection to the exhibit.

 VII.    DAMAGES

    A.      Microchip’s Position

         110.   At trial, Microchip will seek damages in the form of reasonable royalties, lost

 profits, enhanced damages and/or other damages specified herein.

         111.   Microchip contends that pursuant to 35 U.S.C. § 284, Aptiv owes Microchip

 damages for Aptiv’s infringement of the Patents-in-Suit. With respect to its First Claim for

 Relief for infringement of the ’243 Patent (COUNT I) and its Second Claim for Relief for

 infringement of the ’708 Patent (COUNT II), Microchip will ask the jury to award damages

 through trial in the form of reasonable royalties and lost profits according to one or more of

 following three theories:

                               Description                                   Amount
          Theory 1: Lost Profits Lost profits from July 1,                  $73,500,403
          and Reasonable           2017 to November 30, 2021
          Royalty (total $87.2     Reasonable Royalty from                  $13,640,729
          million)                 April 1, 2015 to June 30,
                                   2017


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         Theory 2: Reasonable       Reasonable Royalty from                $64,821,124
         Royalty Only (total        April 1, 2015 to November
         $64.8 million)             30, 2021
         Theory 3: Lost Profits     Lost profits from July 1,              $73,500,403
         Only                       2017 to November 30, 2021


        112.   The amount of damages listed in the above table extends through November

 2021, which is the last month for which Aptiv has provided sales numbers. Microchip is

 entitled to reasonable royalty and/or lost profit damages up to and including the trial date.

        113.   Microchip’s damages expert, Dr. Becker, provided supplemental damages

 calculations he intends to present at trial on Thursday, February 10. Aptiv’s damages expert,

 Mr. Michael Chase, provided supplemental calculations and rebuttal to Dr. Becker’s

 supplemental calculations today, Friday, February 18. If necessary, Dr. Becker will provide

 any rebuttal he has to Mr. Chase’s supplemental calculations by Friday, February 25.

        114.   Microchip will further seek an award of pre-judgment interest. Microchip will

 also seek an award of supplemental damages, post-judgment interest, costs, and disbursements

 as justified under 35 U.S.C. § 284 and/or Federal Rule of Civil Procedure, Rule 54 or other

 applicable law. Microchip also seeks attorneys’ and costs fees pursuant to 35 U.S.C. § 285 or

 other applicable law. Moreover, due to the deliberate and willful infringement and exceptional

 case circumstances, Microchip also seeks enhanced damages to be determined by the Court.

 35 U.S.C. § 284.

        115.   Further, to the extent an injunction is not granted for some or all of Aptiv’s

 infringing conduct, Microchip will seek an ongoing royalty for the life of the ’243 Patent and

 the ’708 Patent, respectively, in an amount to be determined by the Court. 35 U.S.C. § 283.




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    B.      Aptiv’s Position

         116.   At trial, Aptiv will demonstrate that Microchip is not entitled to damages

 because the patents-in-suit are not infringed and are invalid.

         117.   At trial, Aptiv will demonstrate that should the jury find the patents-in-suit valid

 and infringed that Microchip is not entitled to the damages which it seeks. Specifically, Aptiv

 will demonstrate that Microchip has not met its burden to prove lost profits damages and thus

 is entitled only to a reasonable royalty if it prevails on liability. Aptiv will demonstrate that

 Microchip is entitled to a reasonable royalty in the amount of no more than between $0.18

 and $0.30 per unit, less the effect of retaliatory price increases that it imposed on Aptiv but

 would not have had Aptiv taken a license pursuant to hypothetical negotiation. Aptiv will

 prove that the amount of damages on sales of the accused products equals a total of between

 $3,513,696 and $13,890,241. .

         118.   Should Microchip prevail at trial, and should the jury award Microchip

 damages, Aptiv, including through its expert witness, will calculate the amount of any pre-

 and post-judgment interest to which Microchip would be entitled.

         119.   Aptiv will oppose Microchip’s attempts to secure any attorneys’ fees, costs, or

 enhanced damages under 35 U.S.C. § 285 or any other authority.

         120.   Aptiv will seek attorneys’ and costs fees pursuant to 35 U.S.C. § 285 or other

 applicable law.

         121.   Should Microchip seek an ongoing royalty, Aptiv will present, including

 through its expert witness, a calculation of such an ongoing royalty.

 VIII. BIFURCATED TRIAL

         122.   The parties are not seeking a bifurcated trial.



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        123.   This pretrial order may not address all issues solely related to Microchip’s

 request for a permanent injunction. To the extent that proceedings related to that request

 become necessary, the parties reserve the right to supplement this pretrial order to include

 evidence that may be relevant solely to such proceedings.

 IX.    MOTIONS IN LIMINE

        124.   Per D.I. 309, the parties will file motions in limine on February 22, and

 oppositions thereto on March 15. Per D.I. 314, each party will be limited to 5 motions in

 limine, and will be limited to a total of 20 pages in support of its motions in limine and will

 be limited to a total of 20 pages in opposing the other side’s motions in limine.

 X.     DISCOVERY

        125.   Each party has completed discovery.

        126.   Both parties must still comply with their obligation to supplement discovery

 under FRCP 26(e).

 XI.    NUMBER OF JURORS

        127.   There shall be eight jurors. The Court will conduct jury selection through the

 “struck juror” method, beginning with the Court reading voir dire to the jury panel in the

 courtroom, continuing by meeting with jurors individually in chambers or at sidebar and there

 addressing any challenges for cause, and concluding with peremptory strikes.

 XII.   NON-JURY TRIAL

        128.   Microchip has requested a permanent injunction. The parties propose that the

 Court set a briefing schedule relating to the permanent injunction after the trial has been

 completed, as appropriate. Both parties reserve the right to present additional evidence post-

 trial as needed for the Court’s permanent injunction determination.



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 XIII. LENGTH OF TRIAL

        129.    The trial is expected to last five days, and the time allotted to each side is

 described below. Unless otherwise ordered, time will be charged to a party for its opening

 statement, direct and redirect examinations of witnesses it calls, cross-examination of

 witnesses called by any other party, closing argument, its argument on any motions for

 judgment as a matter of law, and all sides’ argument on objections a party raises (outside

 the presence of the jury) to another party’s exhibits and demonstrative exhibits.

        130.    The Courtroom Deputy will keep a running total of trial time used by

 counsel. If any party uses all of its allotted trial time, the Court will terminate that party’s

 trial presentation.

        131.    Considering the Court’s procedures for counting time, and considering the

 nature and extent of the parties’ disputes, the parties request 12 hours each for their trial

 presentation of evidence. Time for openings and closings will not be counted against this

 12 hour time limit. Openings will be limited to 45 minutes per side, and closings will be

 limited to 1.5 hours per side.

 XIV. MOTIONS FOR JUDGMENT AS A MATTER OF LAW

        132.    The parties will make short oral presentations of their motions for judgment as

 a matter of law (JMOL) at the earliest break following the close of a party’s case-in-chief on

 a particular claim or defense, and outside of the presence of the jurors. The parties may

 supplement their oral presentation post-trial. If warranted, the parties may renew such motions

 at the appropriate time later in the trial or post-trial.

 XV.    AMENDMENTS OF THE PLEADINGS

        133.    No amendments to the pleadings are desired by any party.



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 XVI. ADDITIONAL MATTERS

         134.   The parties propose playing the Federal Judicial Center’s video “The Patent

 Process: An Overview for Jurors” as part of the Court’s preliminary jury instructions. The

 time for this video will not be charged against either party’s trial presentation time.

         135.   The parties anticipate that the majority of the trial will be open to the public and

 not sealed unless a party specifically requests that a particularly sensitive portion be sealed. If

 a party makes such a request, subject to the Court’s approval and for good cause shown, the

 courtroom shall be cleared of those individuals not qualified to hear such confidential

 information under the Protective Order entered in this case, except that each party’s corporate

 representative(s) may remain in the courtroom throughout the entirety of trial subject to Rule

 615 of the Federal Rules of Evidence. The parties may show particular circumstances as

 appropriate to exclude party representatives other than the corporate representative designated

 as the party’s representative under Rule 615 of the Rules of Evidence.

    A.      Microchip’s List of Additional Issues

         136.   As noted above, Microchip seeks a permanent injunction in connection with its

 patent claims. Microchip understands that the Court will make a determination as to the

 permanent injunction, as appropriate, after the completion of the jury trial. Microchip suggests

 that the Court set a schedule for any post-trial briefing and/or evidentiary hearing on the

 permanent injunction at the conclusion of the jury trial.

         137.   Microchip is not repeating here the issues it will set forth in its motions in

 limine. Those are issues that remain to be decided by the Court.

    B.      Aptiv’s List of Additional Issues

         138.   None at this time.



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 XVII. SETTLEMENT

        139.   The parties hereby certify that they engaged in a good faith effort to explore the

 resolution of the controversy by settlement.

        IT IS HEREBY ORDERED that this Final Pretrial Order shall control the subsequent

 course of the action, unless modified by the Court to prevent manifest injustice.



                                                     Respectfully submitted,

                                                     SHAW KELLER LLP

  OF COUNSEL:                                        /s/ Andrew E. Russell
  Bruce W. Slayden II                                John W. Shaw (No. 3362)
  Brian C. Banner                                    Andrew E. Russell (No. 5382)
  R. William Beard, Jr.                              Nathan R. Hoeschen (No. 6232)
  Truman H. Fenton                                   I.M. Pei Building
  Darryl J. Adams                                    1105 North Market Street, 12th Floor
  Joseph D. Gray                                     Wilmington, DE 19801
  SLAYDEN GRUBERT BEARD PLLC                         (302) 298-0700
  401 Congress Ave., Suite 1650                      jshaw@shawkeller.com
  Austin, TX 78701                                   arussell@shawkeller.com
  (512) 402-3550                                     nhoeschen@shawkeller.com
                                                     Attorneys for Plaintiff




                                                     POTTER ANDERSON & CORROON LLP

  OF COUNSEL:                                        /s/ Philip A. Rovner
  Daralyn J. Durie                                   Philip A. Rovner (No. 3215)
  Timothy Saulsbury                                  Jonathan A. Choa (No. 5319)
  Eric C. Wiener                                     Hercules Plaza
  Andrew T. Jones                                    P.O. Box 951
  Joyce C. Li                                        Wilmington, DE 19899
  W. Henry Huttinger                                 (302) 984-6000
  DURIE TANGRI LLP                                   provner@potteranderson.com
  217 Leidesdorff St.                                jchoa@potteranderson.com
  San Francisco, CA 94111                            Attorneys for Defendant
  (415) 362-6666

  Dated: February 18, 2022
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 SO ORDERED, this        day of                 , 2022.



                                     UNITED STATES DISTRICT JUDGE




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